       Case 13-31231             Doc 22        Filed 08/14/18 Entered 08/14/18 12:04:52                     Desc Notice of
                                                  Defective Filing Page 1 of 1
                                            UNITED STATES BANKRUPTCY COURT
                                               Western District of North Carolina
                                                      Charlotte Division

                                                         Case No. 13−31231
                                                             Chapter 13

In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Stephen Wayne Lillard
      16338 Cardross Ln
      Huntersville, NC 28078
      Social Security No.: xxx−xx−9100




                         NOTICE OF DEFECTIVE ENTRY OR FILING

NOTICE IS HEREBY GIVEN that the Motion for Discharge filed in the above referenced case on 08/13/2018 as
document # 21 is defective for the reason(s) marked below:



         Incorrect hearing time



PLEASE TAKE NOTICE that this should be corrected immediately to allow for timely processing of the
case/proceeding.



Dated: August 14, 2018                                                                        Steven T. Salata
                                                                                              Clerk of Court


Electronically filed and signed (8/14/18)
